 Case 2:19-cv-02798-SHM-dkv Document 1 Filed 11/19/19 Page 1 of 5                       PageID 1



                                   UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE
------------------------------------------------------x
JARVIS JERNIGAN,                                      :
an individual,                                        : CASE NO.:
                                                      :
                  Plaintiff,                          :
                                                      : Judge:
vs.                                                   :
                                                      :
                                                      : Magistrate:
                                                      :
FIVE GUYS ENTERPRISES, LLC,                           :
                                                      :
                  Defendant.                          :
------------------------------------------------------x

                                         COMPLAINT

       Plaintiff, JARVIS JERNIGAN, by and through his undersigned counsel, hereby files this

Complaint and sues FIVE GUYS ENTERPRISES, LLC (hereinafter referred to as

“DEFENDANT”), for declaratory and injunctive relief, attorneys’ fees, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and alleges the following:

                              JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

       Americans with Disabilities Act, 42 U.S.C. §12181 et seq. (hereinafter referred to as the

       “ADA”).

2.     This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

4.     Plaintiff, JARVIS JERNIGAN, (hereinafter referred to as “MR. JERNIGAN”), is a

       person of the age of majority and a citizen of the State of Tennessee.

5.     MR. JERNIGAN maintains a residence in Shelby County at 1350 Concourse Avenue,

       Memphis, Tennessee.

                                                1
 Case 2:19-cv-02798-SHM-dkv Document 1 Filed 11/19/19 Page 2 of 5                PageID 2



6.    MR. JERNIGAN is a qualified individual with a disability under the ADA. MR.

      JERNIGAN uses a motorized wheelchair or scooter for his primary means of mobility.

7.    Due to his disability, MR. JERNIGAN is substantially impaired in several major life

      activities and requires a motorized wheelchair or scooter to ambulate.

8.    Upon information and belief, DEFENDANT is a limited liability company organized in

      the state of Delaware and having the domicile of 10718 Richmond Highway, Lorton, VA

      22079.

9.    Upon information and belief, DEFENDANT is the owner and lessor of the real properties

      and improvements which is the subject of this action, to wit: Five Guys, located at the

      address 2100 Union Ave, Memphis, TN 38104 (hereinafter referred to as “the Property”).

10.   Upon information and belief, the Property is a restaurant.

11.   Mr. JERNIGAN has attempted to visit to the Property to eat.

12.   DEFENDANT is obligated to comply with the ADA.

13.   All events giving rise to this lawsuit occurred in the Western District of Tennessee,

      Shelby County, Tennessee.

                     COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

14.   MR. JERNIGAN realleges and reavers Paragraphs 1 - 13 as if they were expressly

      restated herein.

15.   The Property is a place of public accommodation, subject to the ADA, generally located

      at: 2100 Union Ave, Memphis, TN 38104.

16.   Upon information and belief, MR. JERNIGAN has visited the Property and desires to

                                               2
 Case 2:19-cv-02798-SHM-dkv Document 1 Filed 11/19/19 Page 3 of 5                        PageID 3



      visit the Property again in the future.

17.   During this visit, MR. JERNIGAN experienced serious difficulty accessing the goods and

      utilizing the services therein due to many of the architectural barriers discussed in

      Paragraph 22 of this Complaint.

18.   MR. JERNIGAN continues to desire to visit the Property, but will continue to experience

      serious difficulty due to the barriers discussed in Paragraph 22, which still exist.

19.   MR. JERNIGAN lives within a close geographic proximity of the Property.                   MR.

      JERNIGAN’S residence is located approximately 2.5 miles from the Property.

20.   MR. JERNIGAN plans on returning to the Property to dine.

21.   MR. JERNIGAN intends to and will visit the Property to utilize the goods and services in

      the future, but fears that he will encounter the same barriers to access which are the

      subject of this action.

22.   Upon information and belief, DEFENDANT is in violation of 42 U.S.C. § 12181 et seq.

      and 28 C.F.R. § 36.302 et seq. and is discriminating against MR. JERNIGAN due to, but

      not limited to, the following violations which exist at the Property:

              I.      UPON INFORMATION AND BELIEF, THE FOLLOWING BARRIERS

      ARE ALLEGED TO BE THE RESPONSIBILITY OF DEFENDANT:

                      A.        The designated-accessible parking space is not situated in a location

                                closest to the Property’s entrance;

                      B.        The designated-accessible outdoor seating forces wheelchair users

                                to sit in the path of the accessible route;

                      C.        The ramp connecting the sidewalk to the facility’s entrance do not



                                                   3
 Case 2:19-cv-02798-SHM-dkv Document 1 Filed 11/19/19 Page 4 of 5                    PageID 4



                              contain handrails;

                       D.     The outdoor garbage can is not located on an accessible route; and

                       E.     Other mobility-related ADA barriers to be identified following a

                              complete inspection.

23.    Upon information and belief, all barriers to access and ADA violations still exist and

       have not been remedied or altered in such a way as to effectuate compliance with the

       provisions of the ADA, even though removal is readily achievable.

24.    Upon information and belief, removal of the discriminatory barriers to access located on

       the Property is readily achievable, reasonably feasible, and easily accomplished, and

       would not place an undue burden on DEFENDANT.

25.    Upon information and belief, removal of the barriers to access located on the Property

       would provide MR. JERNIGAN with an equal opportunity to participate in, or benefit

       from, the goods, services, and accommodations which are offered to the general public at

       the Property.

26.    MR. JERNIGAN has been obligated to retain the undersigned counsel for the filing and

       prosecution of this action.   MR. JERNIGAN is entitled to have his reasonable attorneys’

       fees, costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.

                                        PRAYER FOR RELIEF

       WHEREFORE, MR. JERNIGAN demands judgment against DEFENDANT, and

requests the following injunctive and declaratory relief:

       A.      That this Court declare that the Property owned, leased, and/or operated by

               DEFENDANT is in violation of the ADA;



                                                   4
Case 2:19-cv-02798-SHM-dkv Document 1 Filed 11/19/19 Page 5 of 5                  PageID 5



    B.     That this Court enter an Order directing DEFENDANT to alter the Property to

           make it accessible to and useable by individuals with mobility disabilities to the

           full extent required by Title III of the ADA;

    C.     That this Court award reasonable attorneys’ fees, costs (including expert fees),

           and other expenses of suit, to MR. JERNIGAN pursuant to the ADA; and

    D.     That this Court award such other and further relief as it deems necessary, just and
           proper.



    Respectfully Submitted,


    BIZER & DEREUS, LLC                              DONATI LAW
    Attorneys for Plaintiff                          Attorneys for Plaintiff
    Andrew D. Bizer (LA # 30396)                     Bryce Ashby (TN Bar No.: 026179)
    andrew@bizerlaw.com                              1415 Union Avenue
    Garret S. DeReus (LA # 35105)                    Memphis, TN 38104
    gdereus@bizerlaw.com                             901-209-5500
    3319 St. Claude Ave.                             Bryce@donatilaw.com
    New Orleans, LA 70117
    T: 504-619-9999; F: 504-948-9996


    By:/s/ Andrew D. Bizer
            Andrew D. Bizer




                                             5
